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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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                                                                 :
 KWIK TICKET INC., by its 50% owner,                             : Docket No. 1:20-cv-1201(FB) (SJB)
 FLORENCE SHAMAH,                                                :
                                                                 :
                                     Plaintiff,                  :
                                                                 :
                   -against-                                     :
                                                                 :
 LARRY SPIEWAK, MINDY SPIEWAK,                                   :
 MALKAH JACOBOVITS and JOEL BOIKESS, :
                                                                 :
                                     Defendants.                 :
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                     PLAINTIFF’S MEMORANDUM OF LAW IN
                OPPOSITION TO JOEL BOIKESS’S MOTION TO DISMISS




 October 1, 2021
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                                 PRELIMINARY STATEMENT

        Defendant Joel Boikess was an integral part of the extensive fraud against Kwik Ticket,

 Inc. As the company’s certified public accountant, he had a duty to accurately prepare the

 company’s financial statements and tax returns. But instead, he knowingly assisted Larry

 Spiewak’s looting, and covered up the schemes, by issuing false and misleading statements and

 returns. Without Boikess’s assistance, the fraud against the company could never have been

 perpetuated.

        Treating the allegations as true – required on this motion – it is clear that the complaint

 should not be dismissed as against Boikess. The Amended Complaint pleads actionable claims

 for RICO conspiracy, breach of fiduciary duty, aiding and abetting fraud, aiding and abetting

 breach of fiduciary duty, disgorgement of compensation, and a permanent injunction enjoining

 further fraudulent activity. Hence, Boikess’s dismissal motion should be entirely denied.
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                                              FACTS

        The allegations of the Amended Complaint are summarized in plaintiff’s opposition to

 the Inside Defendants’ motion, and for the sake of economy that presentation is incorporated, but

 not repeated, here.

        In short, plaintiff Florence Shamah is the 50% owner of the New York corporation Kwik

 Ticket, Inc. She recently uncovered an extensive, decades’-long pattern of fraud, theft and

 looting orchestrated by defendant Larry Spiewak with the assistance of the company’s office

 manager; his wife; and the company’s long-time outside accountant, defendant-movant Joel

 Boikess. Among other things, the pattern included the creation of hundreds of fake invoices

 purportedly issued by outside vendors, when in reality, the invoices were fraudulently created in-

 house by defendant Jacobovits at the instruction of Spiewak. The business records of Kwik

 Ticket reflected that checks were issued to the alleged “vendors” to pay these invoices, and the

 “transactions” were recorded as legitimate expenses, thereby reducing the company’s income

 and profits. In fact, the actual underlying checks were drawn to “Cash,” and Jacobovits went to

 the bank, withdrew cash from the company’s account, and divvied up the proceeds among

 herself and the Spiewaks (Am Comp. ¶¶ 1-3, 25-37).

        A separate pattern of fraud involved the Spiewaks’ charging of virtually every personal

 and household expense to credit cards which were paid in full by the company and recorded as

 business expenses of the company (Am Comp. ¶ 38). This occurred over a 20-year period (id).

        The complaint alleges that Boikess was well aware of these facts, and knowingly

 participated in and furthered the wrongdoing by intentionally creating false financial statements

 and tax returns. This had the dual effect of perpetuating the fraud (by concealing it from

 plaintiff) and reducing the company’s tax liabilities (Am. Comp. ¶¶ 1, 16, 21, 76).



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         Plaintiff has alleged six counts against Boikess: Count II, for conspiracy to violate the

 RICO statute; Count V, for breach of fiduciary duty; Counts VI and VIII, for aiding and abetting

 breach of fiduciary duty and fraud, respectively; Count XIII, for disgorgement of compensation

 during Boikess’s period of disloyalty; and Count XIV, for injunctive relief.

         For the below reasons, the dismissal motion should be denied in its entirety.

                                             ARGUMENT

                                                    I.

                         A RICO CONSPIRACY DOES NOT REQUIRE
                         PROOF OF A SUBSTANTIVE RICO OFFENSE

         The majority of Boikess’s memorandum attacks the Amended Complaint for allegedly

 failing to satisfy the individual requirements of 18 U.S.C. § 1962(c) (Boikess Mem. 3-12). He is

 not only wrong (for the reasons set forth in opposition to the Inside Defendants’ motion), but

 more importantly, the argument is irrelevant. Boikess is not being charged with violating RICO’s

 substantive provisions (Count I).1 Rather, the Amended Complaint alleges that Boikess and the

 other defendants agreed and conspired to violate 18 U.S.C. § 1962(c), an independent violation

 of RICO’s conspiracy provision, 18 U.S.C. § 1962(d).

         Contrary to Boikess’s argument, a RICO conspiracy does not require proof of an

 underlying substantive RICO violation. The Second Circuit, in United States v. Applins, 637

 F.3d 59, 74 (2d Cir. 2011), specifically noted that the Supreme Court, in Salinas v. United States,

 522 U.S. 52 (1997) has “rejected the proposition that a conviction for RICO conspiracy requires

 proof that a substantive offense was committed.” As stated in Salinas, “It is elementary that a

 conspiracy may exist and be punished whether or not the substantive crime ensues, for the



 1
  Similarly puzzling is Boikess’s challenge to the conversion claim (Boikess Mem. 1-2), when that too is
 not alleged against him.

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 conspiracy is a distinct evil, dangerous to the public, and so punishable in itself.” Id. at 65. See

 also United States v. White, 2018 U.S. Dist. LEXIS 146444, at *5 (S.D.N.Y. Aug. 28, 2018) (“In

 the RICO conspiracy context, courts have repeatedly held that ‘[n]either overt acts, nor specific

 predicate acts that the defendant agreed personally to commit, need be alleged or proven for a

 section 1962(d) offense.’” (citation omitted)); Palatkevich v. Choupak, 2014 U.S. Dist. LEXIS

 10570, at *61-62 (S.D.N.Y. Jan. 24, 2014) (“Section 1962(d) conspiracies are easier to prove

 than violations of § 1962(c) . . . . a conspirator may be charged with violating § 1962(d), even if

 he is incapable of violating § 1962(c).”)

        The factual allegations of the Amended Complaint, together with the specific allegations

 in Count II (Am. Comp.¶¶ 63-65), are sufficient to require Boikess to defend against the charge

 that he conspired with Spiewak and the other defendants to violate RICO. Accordingly, Count II

 should not be dismissed.

                                                  II.

                   THE AMENDED COMPLAINT ADEQUATELY
             ALLEGES BREACH OF FIDUCIARY DUTY AGAINST BOIKESS

        Contrary to Boikess’s contention, accountants are not insulated from breach of fiduciary

 duty claims in all instances. Under New York law, when a party alleges that an accountant was

 involved in creating false statements to facilitate the diversion of funds, a breach of fiduciary

 duty claim is proper. And that is precisely what the Amended Complaint alleges.

        At the outset, we note that Boikess’s submission of an affidavit and an exhibit is

 procedurally improper, and those materials should not be considered at this juncture. “Because a

 Rule 12(b)(6) motion challenges the complaint as presented by the plaintiff, taking no account of

 its basis in evidence, a court adjudicating such a motion may review only a narrow universe of

 materials. Generally, we do not look beyond ‘facts stated on the face of the complaint, . . .

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 documents appended to the complaint or incorporated in the complaint by reference, and . . .

 matters of which judicial notice may be taken.’” Goel v. Bunge, Ltd., 820 F.3d 554, 559 (2d Cir.

 2016) (omissions in original, citations omitted).       In fact, Boikess’s exhibit raises more questions

 than it answers. It purports to be the engagement letter entered into between Boikess and Kwik

 Ticket in 1990 (Boikess Aff. ¶ 4). Yet the fax header has a date of January 12, 1997, and the

 letter itself pertains only to 2017, and is dated December 28, 2017. Plainly, the document should

 not be considered.2

         Boikess is correct that, in ordinary circumstances, New York law does not impose a

 fiduciary duty upon accountants. However, he conveniently ignores the exception that exists

 “where the allegations include knowledge and concealment of illegal acts and diversions of

 funds. . . .” Nate B. & Frances Spingold Found. v. Wallin, Simon, Black & Co., 184 A.D.2d 464,

 465-66 (1st Dept. 1992). In such instances, a breach of fiduciary claim may be stated. Id.

 Accord, Gerzog v. Goldfarb, 2020 NY Slip Op 32059(U), 2020 N.Y. Misc. LEXIS 2998 (Sup.

 Ct., N.Y. Co. 2020); JAG Orthopedics, P.C. v. AJC Advisory Corp., 2015 NY Slip Op

 51111(U), ¶ 7, 48 Misc. 3d 1213(A) (Sup. Ct., Kings. Co. 2015 (“cause of action for breach of

 fiduciary duty, premised upon defendants' failure to disclose and concealment of its own

 awareness of the illegal acts and diversion of plaintiff's assets . . . is actionable [citations

 omitted]. While the accountant-client relationship does not generally implicate a fiduciary duty,

 where, as here, the complaint alleges the failure to advise the client of known improprieties

 revealed in records necessarily reviewed in the course of serving the client, to the extent that

 complicity in the fraud perpetrated by an employee is suggested, a fiduciary duty arises and may


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  Although the Court may consider the affidavit and exhibit if it chooses to convert Boikess’s dismissal
 motion to a summary judgment motion, we do not think that is appropriate at this pre-answer stage of the
 case.


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 have been breached”);Elias v. Gettry Marcus C.P.A., P.C., 2018 U.S. Dist. LEXIS 106099, at

 *17-18 (S.D.N.Y. June 25, 2018) (summarizing New York law as stated above).

        The amended complaint does not take Boikess to task for performing accounting work

 negligently. Instead, it claims that he was an important and essential component of Spiewak’s

 fraud, by knowingly issuing false financial statements and tax returns. Accordingly, a breach of

 fiduciary duty claim is stated against Boikess, and Count V should not be dismissed as against

 him.

                                                 III.

         THE AIDING AND ABETTING COUNTS SHOULD NOT BE DISMISSED

        Although Boikess’s Notice of Motion seeks dismissal of the aiding and abetting counts,

 he does not actually make any argument for their dismissal. (And of course it would be improper

 for him to first do so in reply.) For that reason alone, those counts should remain.

        Boikess does not challenge the claims analytically because he cannot do so. It is

 undisputed that Spiewak owed fiduciary duties to the corporation, and the Amended Complaint

 alleges that Boikess provided substantial assistance to Spiewak in the form of knowing

 preparation of false financial statements and tax returns. Am. Comp. ¶¶ 1, 21, 76). The

 pleading, therefore, adequately sets forth counts for aiding and abetting fiduciary duty and aiding

 and abetting fraud against Boikess.

        As stated by the First Department,

         In order to plead properly a claim for aiding and abetting fraud, the complaint must
         allege: "(1) the existence of an underlying fraud; (2) knowledge of this fraud on the part
         of the aider and abettor; and (3) substantial assistance by the aider and abettor in
         achievement of the fraud" (Unicredito Italiano SPA v JPMorgan Chase Bank, 288 F
         Supp 2d 485, 502 [SD NY 2003] [internal quotation marks omitted], quoting Gabriel
         Capital, L.P. v NatWest Fin., Inc., 94 F Supp 2d 491, 511 [SD NY 2000]). "[A]ctual
         knowledge of the fraud may be averred generally" (In re Worldcom, Inc. Sec. Litig., 382
         F Supp 2d 549, 560 [SD NY 2005] [internal quotation marks omitted]). Substantial

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         assistance exists "where (1) a defendant affirmatively assists, helps conceal, or by virtue
         of failing to act when required to do so enables the fraud to proceed, and (2) the actions
         of the aider/abettor proximately caused the harm on which the primary liability is
         predicated" (Unicredito Italiano, 288 F Supp 2d at 502 [internal quotation marks
         omitted], quoting McDaniel v Bear Stearns & Co., Inc., 196 F Supp 2d 343, 352 [SD
         NY 2002]).

 Stanfield Offshore Leveraged Assets, Ltd. v. Metro. Life Ins. Co., 64 A.D.3d 472, 476, (1st

 Dept. 2009). All of those elements are sufficiently set forth in the Amended Complaint.

        Similarly, the elements of aiding and abetting a breach of fiduciary duty are 1) breach by

 a fiduciary of obligations to another, 2) that defendant had "actual knowledge" of the primary

 violation, and 3) that defendant "substantially assisted" in the primary violation. Hongying Zhao

 v. JPMorgan Chase & Co., 2019 U.S. Dist. LEXIS 40673, at *11 (S.D.N.Y. Mar. 13, 2019)

 (collecting cases). The amended complaint clearly pleads these elements, and thus this count too

 should survive.

                                                IV.

             THE UNJUST ENRICHMENT COUNT SHOULD BE SUSTAINED

        Boikess is the only defendant to seek dismissal of the unjust enrichment count. As to

 him, the Amended Complaint seeks to compel Boikess to disgorge to the corporation the fees he

 collected during the period of his disloyalty to the company. That is a recognized claim under

 New York law. Matter of Blumenthal (Kingsford), 32 A.D.2d 767 (1 st Dept.), lv. den., 7 N.Y.3d

 718 (2016); Yukos Capital S.A.R.L. v. Feldman, 971 F.3d 216, 237-39 (2d Cir. 2020).

 Accordingly, Count XIII should not be dismissed.




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                                                  V.

         THE CLAIM FOR INJUNCTIVE RELIEF SHOULD NOT BE DISMISSED

         In a single sentence (Boikess Mem. 2), and like his co-defendants, Boikess seeks

  dismissal of the injunction count, solely on the grounds that a preliminary injunction was

  previously denied. For the reasons set forth in opposition to the other defendants’ motion, a

  claim for a permanent injunction is viable. Hence, Boikess’s request should be denied.



                                          CONCLUSION

         Joel Boikess’s motion to dismiss should be denied in its entirety.



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  Dated: October 1, 2021




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